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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                   CASE NO. 1:23-cv-23763-JEM

  ELISABET PRINCIPE,

                 Plaintiff,

  v.

  NOMI HEALTH, INC., SBP STAFFING
  AND RECRUITING LLC, SB PORT
  VENTURES LLC and TRIXIE BELO-
  OSAGIE,

                 Defendants.
                                                /

  DEFENDANTS SBP STAFFING AND RECRUITING LLC AND SB PORT VENTURES
    LLC’S ANSWER AND DEFENSES TO PLAINTIFF’S COMPLAINT FOR FLSA
                    OVERTIME WAGE VIOLATION(S)

         Defendants, SBP Staffing and Recruiting LLC (“SBP”) and SB Port Ventures LLC (“SB

  Port”), by and through their undersigned counsel, hereby files their Answer and Defenses to

  Plaintiff, Elisabet Principe’s (“Plaintiff”) Complaint for FLSA Overtime Wage Violation(s), and

  states as follows:

                  RESPONSE TO “PARTIES, JURISDICTION, AND VENUE”

         1.      SBP and SB Port lack sufficient knowledge or information to admit or deny the

  allegation that Plaintiff was and is at all material times a sui juris resident of Miami-Dade County,

  Florida, and therefore deny the same.

         2.      Denied.

         3.      Denied.

         4.      SBP and SB Port lack sufficient knowledge or information to admit or deny the

  allegations contained in this Paragraph, and therefore deny the same.
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         5.      SBP and SB Port lack sufficient knowledge or information to admit or deny the

  allegations contained in this Paragraph, and therefore deny the same.

         6.      SBP admits that it is a Florida limited liability company authorized to conduct

  business in Florida. SBP and SB Port deny the remaining allegations in this Paragraph.

         7.      SB Port admits that it is a Florida limited liability company authorized to conduct

  business in Florida. SBP and SB Port deny the remaining allegations in this Paragraph.

         8.      The allegations in this Paragraph do not appear to require a response from

  Defendants SBP and/or SB Port. To the extent a response is required, SBP and SB Port deny the

  allegations contained in this Paragraph.

         9.      SBP and SB Port neither admit nor deny the allegation that all “Defendants were

  Plaintiff’s employer,” as it calls for a legal conclusion to which no response is required. To the

  extent a response is required, SBP and SB Port deny the allegations contained in this Paragraph.

         10.     Denied.

         11.     Denied.

         12.     SBP and SB Port admit only that, to the extent Plaintiff performed any work for

  either of them, they each individually paid Plaintiff for any such work. SBP and SB Port deny the

  remaining allegations contained in this Paragraph.

         13.     Denied.

         14.     SBP and SB Port neither admit nor deny the allegation that all Defendants jointly

  employed Plaintiff within the meaning of 29 C.F.R §791.2, as it calls for a legal conclusion to

  which no response is required. To the extent a response is required, SBP and SB Port deny the

  allegations contained in this Paragraph.




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         15.     SBP and SB Port neither admit nor deny the allegation that venue is proper with

  this Court, as it calls for a legal conclusion to which no response is required. To the extent a

  response a required, SBP and SB Port admit only that the U.S. District Court for the Southern

  District of Florida, Miami Division is the proper venue for Plaintiff’s claims. SBP and SB Port

  deny the remaining allegations contained in this Paragraph.

         16.     SBP and SB Port neither admit nor deny the allegation that this Court has original

  jurisdiction over Plaintiff’s federal question claim under 28 U.S.C. §1331 and 26 U.S.C. §201, et

  seq., as it calls for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port admit that this Court has original jurisdiction over Plaintiff’s federal

  question claims. SBP and SB Port deny the remaining allegations contained in this Paragraph.

                   RESPONSE TO “FLSA JURISDICTION ALLEGATIONS”

         17.     SBP and SB Port neither admit nor deny the allegations contained in this Paragraph,

  as they call for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port deny the allegations contained in this Paragraph.

         18.     SBP and SB Port neither admit nor deny the allegations contained in this Paragraph,

  as they call for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port deny the allegations contained in this Paragraph.

         19.     SBP and SB Port neither admit nor deny the allegations contained in this Paragraph,

  as they call for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port deny the allegations contained in this Paragraph.

         20.     SBP and SB Port neither admit nor deny the allegations contained in this Paragraph,

  as they call for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port deny the allegations contained in this Paragraph.


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         21.     SBP and SB Port neither admit nor deny the allegations contained in this Paragraph,

  as they call for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port deny the allegations contained in this Paragraph.

                           RESPONSE TO “FACTUAL ALLEGATIONS”

         22.     Denied.

         23.     Denied.

         24.     Denied.

         25.     SBP and SB Port neither admit nor deny the allegations contained in this Paragraph,

  as they call for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port deny the allegations contained in this Paragraph.

         26.     SBP and SB Port lack sufficient knowledge or information to admit or deny the

  allegation that Plaintiff is currently a Registered Nurse, and therefore deny the same. SBP and SB

  Port deny the remaining allegations contained in this Paragraph.

         27.     Denied.

         28.     Denied.

         29.     SBP and SB Port neither admit nor deny the allegations contained in this Paragraph,

  as they call for a legal conclusion to which no response is required. To the extent a response is

  required, SBP and SB Port deny the allegations contained in this Paragraph.

         30.     SBP and SB Port lack sufficient knowledge or information to admit or deny the

  allegation that Plaintiff retained counsel and agreed to pay a reasonable fee for all services

  rendered, and therefore deny the same.

                        RESPONSE TO “LIABILITY ALLEGATIONS”

         31.     Denied.


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          32.     Denied.

          33.     Denied.

          34.     Denied.

          35.     Denied.

                 RESPONSE TO “COUNT I- FLSA OVERTIME VIOLATION
                          (AGAINST NOMI HEALTH, INC.)"

          SBP and SB Port re-allege and incorporate by reference their responses to Paragraphs 1

  through 35 as if fully set forth herein.

          36.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

          37.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph..

          38.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

          39.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

          40.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.



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                 RESPONSE TO “COUNT II- FLSA OVERTIME VIOLATION
                   (AGAINST SBP STAFFING AND RECRUITING LLC)"

          SBP and SB Port re-allege and incorporate by reference their responses to Paragraphs 1

  through 35 as if fully set forth herein.

          41.     Denied.

          42.     Denied.

          43.     The allegations in this Paragraph should be stricken from Plaintiff’s Complaint for

  being “immaterial, impertinent, or scandalous.” To the extent a response is required, SBP and SB

  Port deny the allegations contained in this Paragraph.

          44.     Denied.

          45.     Denied.

                RESPONSE TO “COUNT III- FLSA OVERTIME VIOLATION
                       (AGAINST SB PORT VENTURES LLC)"

          SBP and SB Port re-allege and incorporate by reference their responses to Paragraphs 1

  through 35 as if fully set forth herein.

          46.     Denied.

          47.     Denied.

          48.     The allegations in this Paragraph should be stricken from Plaintiff’s Complaint for

  being “immaterial, impertinent, or scandalous.” To the extent a response is required, SBP and SB

  Port deny the allegations contained in this Paragraph.

          49.     Denied.

          50.     Denied.




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                 RESPONSE TO “COUNT IV- FLSA OVERTIME VIOLATION
                          (AGAINST TRIXIE BELO-OSAGIE)"

          SBP and SB Port re-allege and incorporate by reference their responses to Paragraphs 1

  through 35 as if fully set forth herein.

          51.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

          52.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

          53.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

          54.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

          55.     SBP and SB Port do not answer the allegations contained in this Paragraph, as the

  allegations are not directed against SBP and SB Port. To the extent a response is required, SBP

  and SB Port deny the allegations contained in this Paragraph.

                   RESPONSE TO “PRAYER FOR RELIEF (ALL COUNTS)”

          SBP and SB Port do not believe that a response is required for the unnumbered

  “WHEREFORE” paragraph, or subparagraphs (a) through (g), following Paragraph 55. However,

  to the extent a response is required, SBP and SB Port deny that there is any proper basis or cause



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  of action to be brought before this Court and deny that Plaintiff is entitled to any relief from SBP

  and/or SB Port.

                         RESPONSE TO “DEMAND FOR JURY TRIAL”

         SBP and SB Port do not believe that the unnumbered demand for a jury trial requires a

  response, but admit that Plaintiff demands a jury trial on all issues so triable in Plaintiff’s

  Complaint. However, SBP and SB Port deny any liability or wrongdoing, and deny that Plaintiff

  is entitled to any relief whatsoever.

                                          GENERAL DENIAL
         SBP and SB Port specifically deny each and every allegation of fact, conclusion of law or

  other matter contained in Plaintiff’s Complaint that they have not specifically admitted in this

  pleading. Below, SBP and SB Port assert defenses to which they do not concede that they bear

  either a burden of proof or persuasion, and state as follows:

                                   STATEMENT OF DEFENSES
                                       FIRST DEFENSE

         Plaintiff’s claims may, in whole or in part, be barred by the applicable Statute of

  Limitations.

                                          SECOND DEFENSE

         Plaintiff’s claims for lost wages and other employment benefits must be reduced by the

  amount of wages and benefits Plaintiff earned (including unemployment compensation benefits),

  or through the exercise of reasonable diligence could have earned, during the period for which lost

  wages and benefits are sought by Plaintiff. Plaintiff’s damages, if any, have been paid in whole

  or in part by collateral sources, which eliminate or reduce the damages that can be recovered from

  SBP and/or SB Port.




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                                          THIRD DEFENSE

          Plaintiff’s claims for damages are barred or limited to the extent Plaintiff seeks recovery

  of an amount greater than that which is permissible under Federal law, and all such claims are

  subject to the limitations of appropriate statutory caps or limits existing at law.

                                         FOURTH DEFENSE

          Plaintiff’s claims are be barred by the doctrines of estoppel, waiver, unclean hands and/or

  laches. Plaintiff failed to provide any notice to SBP and/or SB Port regarding her belief that they

  violated the FLSA during her engagement and is therefore estopped from asserting a position

  contrary to that in this case.

                                           FIFTH DEFENSE

          Plaintiff was at all times material hereto properly paid all of her legally-entitled wages.

                                          SIXTH DEFENSE

          To the extent that Plaintiff seeks an award of liquidated damages, such damages are

  unavailable under applicable law and/or are barred based on SBP and/or SB Port’s good faith

  efforts to comply with the law.

                                        SEVENTH DEFENSE

          Any claim for minimum wage and/or overtime liability and liquidated damages for a period

  in excess of two years prior to filing is barred by the statute of limitations contained in the Portal-

  to-Portal Act of 1947 as amended, 29 U.S.C. § 255, as any violations of the FLSA which may have

  occurred were not “willful” within the meaning of the statute.

                                         EIGHTH DEFENSE

          Any claim for minimum wage and/or overtime liability and liquidated damages is barred

  under the Portal-to-Portal Act of 1947, as amended, 29 U.S.C. § 259, as SBP and SB Port were at

  all times acting in good faith in conformity with and in reliance on written administrative

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  regulations, orders, rulings, and interpretations of the Administrator of the Wage and Hour

  Division of the U.S. Department of Labor and/or the relevant state departments of labor or their

  equivalent agencies.

                                         NINTH DEFENSE

         Any claim for liquidated damages under the FLSA, as amended, 29 U.S.C. § 216, is barred

  under the Portal-to-Portal Act of 1947, as amended 29 U.S.C. § 260, as SBP and SB Port were at

  all times acting in good faith and had reasonable grounds for believing that its actions were not in

  violation of the FLSA.

                                         TENTH DEFENSE

         If the facts reveal that Plaintiff was engaged in efforts to alter her own time or pay records,

  or in any other way violated the established policies of SBP and/or SB Port with regard to

  employment practices, Plaintiff should be estopped from recovering on her claim.

                                      ELEVENTH DEFENSE

         Plaintiff’s claims are barred in whole or in part to the extent Plaintiff seeks compensation

  in this action for time other than compensable working time.

                                       TWELFTH DEFENSE

         Plaintiff’s claim is barred, at least in part, for any work performed by Plaintiff getting to

  and from the actual place of performance of her job duties, and for any other activities preliminary

  and postliminary to her principle duties. Such claims are bared to the extent Plaintiff has included

  the same in her calculation of damages.

                                     THIRTEENTH DEFENSE

         Without conceding that Plaintiff has suffered any damages as a result of any alleged

  wrongdoing by SBP and/or SB Port, any recovery Plaintiff may be entitled to as a result of this

  action must be offset or reduced by any overpayments made by any Defendant to Plaintiff and/or

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  by the value of any amounts of compensation and benefits that Plaintiff would not have otherwise

  received.

                                          RESERVATION

         SBP and SB Port will rely upon all proper defenses lawfully available that may be disclosed

  by evidence and reserve the right to amend this Answer to state such other defenses and/or to

  otherwise supplement this Answer upon discovery of facts or evidence rendering such action

  appropriate.

         SBP and/or SB Port are entitled to recover their court costs and attorneys’ fees for the

  defense of Plaintiff’s action because this action is frivolous and without foundation in law or fact.

         WHEREFORE, premises considered, SBP and SB Port pray that this Court, upon hearing

  hereof, enter judgment as follows:

         1.      Ordering that Plaintiff take nothing by this action;

         2.      Dismissing Plaintiff’s Complaint and any claim therein in its entirety with

  prejudice;

         3.      Ordering that judgment be entered in SBP and SB Port’s favor;

         4.      Awarding SBP and SB Port their attorneys’ fees against Plaintiff pursuant to law;

         5.      Awarding costs to SBP and SB Port; and

         6.      Awarding SBP and SB Port such other relief, both at law and in equity, to which it

  may show themselves to be justly entitled.




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  Respectfully submitted this 27th of October, 2023.

                                                 Respectfully submitted,

                                                 GRAYROBINSON, P.A.

                                                 /s/ Fabian A. Ruiz
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                                                 Counsel for Defendants SBP Staffing and
                                                 Recruiting LLC and SB Port Ventures LLC


                                      CERTIFICATE OF SERVICE
           I hereby certify that on October 27, 2023, I electronically filed the foregoing with the Clerk of

  the Court by using the CM/ECF. I also certify that the foregoing document is being served this day

  on all counsel of record or pro se parties either via transmission of Notice of Electronic Filing

  generated by CM/ECF or in some other authorized manner for those counsel or parties who are not

  authorized to receive electronically Notices of Electronic Filing.

                                                 By:     /s/ Fabian A. Ruiz
                                                         Counsel for Defendants SBP Staffing and
                                                         Recruiting LLC and SB Port Ventures LLC

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